Case 2:19-cr-00055-MWF Document 1050 Filed 04/29/21 Page 1 of 5 Page ID #:5772
              Case 2:19-cr-00055-MWF Document 1050 Filed 04/29/21 Page 2 of 5 Page ID #:5773

 USA vs.       10. Joseph Peter Herrera                                            Docket No.:     CR 19-55(B)-MWF

         5.           The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis,
                      breath or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using alcohol and illicit
                      drugs, and from abusing prescription medications during the period of supervision.

         6.           During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel, may place
                      the defendant in a residential drug treatment program approved by the U.S. Probation and Pretrial Services Office for
                      treatment of narcotic addiction or drug dependency, which may include counseling and testing, to determine if the defendant
                      has reverted to the use of drugs. The defendant shall reside in the treatment program until discharged by the Program Director
                      and Probation Officer.

         7.           As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered treatment to the
                      aftercare contractors during the period of community supervision. The defendant shall provide payment and proof of payment
                      as directed by the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

         8.           The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, computers, cell phones, other
                      electronic communications or data storage devices or media, email accounts, social media accounts, cloud storage accounts,
                      or other areas under the defendant’s control, to suspicion-less search and seizure at any time of the day or night by any
                      United States Probation Officer or law enforcement officer, with or without a warrant, and with or without cause; and if
                      stopped or questioned by a law enforcement officer for any reason, defendant shall notify that officer that defendant is on
                      federal supervised release and subject to search. Failure to submit to a search may be grounds for revocation. The defendant
                      shall warn any other occupants that the premises may be subject to searches pursuant to this condition.

         9.           The defendant shall not associate with anyone known to the defendant to be a member of the Vineland Boys Gang and others
                      known to the defendant to be participants in the Vineland Boys Gang's criminal activities, with the exception of the
                      defendant's family members. The defendant shall not wear, display, use or possess any gang insignias, emblems, badges,
                      buttons, caps, hats, jackets, shoes, or any other clothing that defendant knows evidence affiliation with the Vineland Boys
                      Gang, and may not display any signs or gestures that defendant knows evidence affiliation with the Vineland Boys Gang.

         10.          As directed by the Probation Officer, the defendant shall not be present in any area known to the defendant to be a location
                      where members of the Vineland Boys Gang meet or assemble.


The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse treatment provider to
facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by the treatment
provider is prohibited without the consent of the sentencing judge.

The defendant is advised of his appeal rights.

The Court grants the government’s request to dismiss the remaining counts of the First Superseding Indictment and the underlying Indictment,
as to this defendant only.

The Court recommends that the Bureau of Prisons evaluate the defendant for participation in the Bureau of Prisons’ 500-hour Residential Drug
Treatment Program (RDAP).

The Court further recommends the defendant be designated to a facility located in Southern California to allow visits from his family.



 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period


              April 29, 2021
              Date                                                      Honorable Michael W. Fitzgerald
                                                                        U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

CR-104 (docx 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 2 of 5
            Case 2:19-cr-00055-MWF Document 1050 Filed 04/29/21 Page 3 of 5 Page ID #:5774

 USA vs.      10. Joseph Peter Herrera                                                   Docket No.:     CR 19-55(B)-MWF



                                                                           Clerk, U.S. District Court




            April 29, 2021                                          By     Rita Sanchez /s/
            Filed Date                                                     Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;        9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                    engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                   any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                          by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                        family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the              review and has determined that the restriction is necessary for
       court or probation officer;                                                         protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without         10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                   not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                 other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                   substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                 11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                   being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before        12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change                ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                     13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her               enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                    permission of the court;
       any contraband prohibited by law or the terms of supervision and             14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                    to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                    criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable                  defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before              vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                     the most effective manner.
       change;




CR-104 (docx 12/20)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                             Page 3 of 5
            Case 2:19-cr-00055-MWF Document 1050 Filed 04/29/21 Page 4 of 5 Page ID #:5775

 USA vs.      10. Joseph Peter Herrera                                           Docket No.:     CR 19-55(B)-MWF



      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


CR-104 (docx 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 4 of 5
            Case 2:19-cr-00055-MWF Document 1050 Filed 04/29/21 Page 5 of 5 Page ID #:5776

 USA vs.      10. Joseph Peter Herrera                                          Docket No.:       CR 19-55(B)-MWF




                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 5
